




NO. 07-08-0031-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



MAY 28, 2008

______________________________



JACOB M. ALVEREZ, 



Appellant



v.



THE STATE OF TEXAS, 



Appellee

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FROM THE CRIMINAL DISTRICT COURT NO. 3 OF TARRANT COUNTY;



NO. 1018408D; HON. ELIZABETH BERRY, PRESIDING

_______________________________



Memorandum Opinion

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Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

Jacob M. Alverez (appellant) appeals his conviction for aggravated assault on a public servant. &nbsp;Purportedly, the evidence is both legally and factually insufficient to support his conviction because no one expressly testified that appellant threatened the officer with imminent bodily injury. &nbsp;We disagree and affirm.

Threats come in many shapes. &nbsp;&nbsp;The one here involved the use of a deadly weapon, namely a car. &nbsp;Furthermore, testimony revealed that after the officer in question identified himself to appellant, as the latter sat in the car, appellant raced the motor. &nbsp;The officer testified that he anticipated that appellant “was going to run me over.” &nbsp;Then the car “started shooting forward” as another officer raised his pistol. &nbsp;Appellant’s vehicle struck the first officer on the “shin” as he attempted to vault over the hood of the moving car and out of the way. &nbsp;So too did the officer slide along the vehicle for a bit. &nbsp;

Knowing that an officer was in front of his car, racing his engine as the officer crossed before it, striking the officer with the car, and refusing to stop after the assault, appellant at the very least threatened the officer with imminent bodily injury, or so a rational jury could have concluded beyond reasonable doubt. &nbsp;Furthermore, such a conclusion is not so contrary to the overwhelming weight of the evidence or supported by evidence so weak as to render the conclusion clearly wrong and unjust.

Accordingly, we overrule the two issues and affirm the judgment of the trial court.



Per Curiam





Do not publish.



 










